Case 10-37875-KRH               Doc 23 Filed 12/21/11 Entered 12/22/11 01:32:04                         Desc Imaged
                                     Certificate of Notice Page 1 of 3

   210B (12/09)


                               United States Bankruptcy Court
                                              Eastern District of Virginia
                                              Case No. 10-37875-KRH
                                                     Chapter 13

   In re: Debtor(s) (including Name and Address)

   John Edward Small
   2408 Bainbridge Street
   Richmond VA 23225



                                       NOTICE OF TRANSFER OF CLAIM

   Claim No. __________         was filed or deemed filed under 11 U.S.C. § 1111(a) in this
   case by the alleged transferor. As evidence of the transfer of that claim, the transferee
   filed a Transfer of Claim in the clerk’s office of this court on 12/16/2011 (date).




   Name and Address of Alleged Transferor:                             Name and Address of Transferee:
   Claim No. 4: CR Evergreen II, LLC, MS 550, PO Box 91121, Seattle,   East Bay Funding, LLC
   WA 98111-9221                                                       c/o Resurgent Capital Services
                                                                       PO Box 288
                                                                       Greenville, SC 29603




                                -- DEADLINE TO OBJECT TO TRANSFER --
   The alleged transferor of the claim is hereby notified that objections must be filed with
   the court within twenty-one (21) days of the mailing of this notice. If no objection is
   timely received by the court, the transferee will be substituted as the original claimant
   without further order of the court.


   Date:    12/21/11                                              William C. Redden
                                                                  CLERK OF THE COURT
         Case 10-37875-KRH              Doc 23 Filed 12/21/11 Entered 12/22/11 01:32:04                               Desc Imaged
                                             Certificate of Notice Page 2 of 3
                                                United States Bankruptcy Court
                                                Eastern District of Virginia
 In re:                                                                                                     Case No. 10-37875-KRH
 John Edward Small                                                                                          Chapter 13
          Debtor
                                                  CERTIFICATE OF NOTICE
 District/off: 0422-7                  User: jonesd                       Page 1 of 2                          Date Rcvd: Dec 19, 2011
                                       Form ID: trc                       Total Noticed: 1


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 Dec 21, 2011.
   NO NOTICES MAILED.

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 10229653      E-mail/PDF: BNCEmails@blinellc.com Dec 20 2011 06:31:24     CR Evergreen II, LLC,   MS 550,
                PO Box 91121,   Seattle, WA 98111-9221
                                                                                             TOTAL: 1

               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Dec 21, 2011                                       Signature:
     Case 10-37875-KRH         Doc 23 Filed 12/21/11 Entered 12/22/11 01:32:04              Desc Imaged
                                    Certificate of Notice Page 3 of 3


District/off: 0422-7          User: jonesd                Page 2 of 2                  Date Rcvd: Dec 19, 2011
                              Form ID: trc                Total Noticed: 1


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 16, 2011 at the address(es) listed below:
              Carl M. Bates    station01@richchap13.com,
               station10@richchap13.com;station03@richchap13.com;station07@richchap13.com;station06@richchap13.c
               om
              Cheran Denise Cordell    on behalf of Creditor PHH MORTGAGE CORPORATION vabecf@logs.com,
               vabecf@logs.com
              Keith L. Phillips    on behalf of Debtor John Small Keith@pf-law.com,
               beth@pf-law.com;Abbie@pf-law.com;dweekley@pf-law.com
              Linh Kiet Tran    on behalf of Transferee CR Evergreen II, LLC bknotices@gmail.com
                                                                                            TOTAL: 4
